      Case 2:09-cr-00009-JPH-CMM                           Document 213               Filed 09/21/15               Page 1 of 1 PageID #:
                                                                  1637
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                    Jose Raul Orozco Lopez                                 )
                                                                           )    Case No: 2:09CR00009-001
                                                                           )    USM No: 09229-028
Date of Original Judgment:                            05/13/2010           )
Date of Previous Amended Judgment:                                         )    Sara Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   144                     months is reduced to 120 months                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




      ACERTI
           FIEDTRUECOPY
      L
      aur
        aA.
          Bri
            ggs
              ,Cl
                erk
      U.S.
         Dis
           tri
             ctCourt
      Sout
         hernDis
               tri
                 ctofI
                     ndi
                       ana

      By
                      De
                       put
                         yCl
                           erk

Except as otherwise provided, all provisions of the judgment dated                          05/13/2010              shall remain in effect.
IT IS SO ORDERED.

Order Date:          9/21/15
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                                 The Honorable William T. Lawrence
                     (if different from order date)                                                    Printed name and title
